
PER CURIAM
*1025The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent engaged in an inappropriate verbal exchange with opposing counsel in open court. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent violated Rule 3.5(d) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Iain A. Dover, Louisiana Bar Roll number 33540, be publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
